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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 WILLIE WILSON, ROBERT FIORETTI,                   )
 EARL C. WILLIAMS, EUGENE WOLF,                    )
 NINA STONER, MINOR J. ALLEN JR.,                  )
 GERALDINE YOUNG, FRANCISCO                        )   Case No. 22 C 4577
 RODRIGUEZ,                                        )
                                                   )   Judge Joan H. Lefkow
                        Plaintiffs,                )
                                                   )   Magistrate Judge Gabriel A. Fuentes
                v.                                 )
                                                   )
 CITY OF CHICAGO BOARD OF                          )
 ELECTION COMMISIONERS, a municipal                )
 agency, MARISEL A. HERNANDEZ, Chair,              )
 WILLIAM J. KRESSE, Commissioner, and              )
 JUNE A. BROWN, Commissioner, each in              )
 their official capacities as members of the       )
 Chicago Board of Election Commissioners,          )
                                                   )
                        Defendants.                )

                       DEFENDANTS’ MOTION FOR EXTENSION
                       OF TIME TO FILE RESPONSIVE PLEADING

       Defendants, Chicago Board of Election Commissioners, Marisel A. Hernandez, William J.

Kresse and June A. Brown (hereinafter “CBEC”), by their attorney, for their motion for an

extension of time to answer or otherwise plead, to and including October 10, 2022, state:

       1.      Defendants’ responsive pleading to Plaintiffs’ complaint is due to be filed on

September 19, 2022. This Court has set an initial status hearing for October 25, 2022. Dkt. 3.

       2.      Defendants are in the process of retaining counsel to defend them in this matter.

       3.      Defendants request an extension of time to file their responsive pleading. Plaintiffs’

complaint consists of four separate counts and 76 paragraphs.

       4.      This requested extension is not sought for purposes of delay, but is needed to allow

Defendants time to retain counsel.
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       5.      Undersigned counsel has attempted to contact Plaintiffs’ counsel Andrew Finko to

discuss Plaintiffs’ position regarding this motion but, at the time of this filing, has not received a

response. No prejudice will be suffered by any party as a result of the requested extension.

       WHEREFORE, Defendants, Chicago Board of Election Commissioners, Marisel A.

Hernandez, William J. Kresse and June A. Brown requests an extension of time to answer or

otherwise plead, to and including October 10, 2022, and for any other relief this Court deems

appropriate.

                                                   Respectfully submitted,

                                               By: /s/ Adam W. Lasker
                                                  Attorney for Defendants Chicago Board of
                                                  Election Commissioners, Marisel A. Hernandez,
                                                  William J. Kresse and June A. Brown

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